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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                               JUDGE R. BROOKE JACKSON


Civil Action:         20-cv-03501-RBJ                      Date: February 25, 2022
Courtroom Deputy:     Julie Dynes                          Court Reporter: Sarah Mitchell

               Parties                                                Counsel

 LIBERTY GLOBAL INC                                                Rajiv Madan
                                                                  Gregory Tamkin
                                                                  Nathan Wacker
                         Plaintiff

 v.

 USA                                                              Jennifer Golden
                                                                  Thomas Sawyer
                      Defendant



                                     COURTROOM MINUTES


ORAL ARGUMENT

Court in Session: 1:31 p.m.

Appearance of counsel.

Argument given by Mr. Madan and Mr. Sawyer on [32] Motion for Summary Judgment.

3:14 p.m.     Court in recess.
3:27 p.m.     Court in session.

Continued argument given by Mr. Madan, Mr. Sawyer and Ms. Golden on [32] Motion for
Summary Judgment.

ORDERED: [32] Motion for Summary Judgment is TAKEN UNDER ADVISEMENT,
         written order to issue.

Court in Recess: 4:58 p.m.            Hearing concluded.          Total time in Court: 03:14
